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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Paul L. Maloney
v.
                                                           Case No. 1:20-cr-00163
CHADRICK AKEEM PERRY,

      Defendant.
________________________________/
                                      ORDER

       This matter is before the Court on the government’s motion for pretrial

detention. The government sought defendant Chadrick Akeem Perry’s detention on

the basis of that he poses a danger to the community, 18 U.S.C. § 1342(f)(1), and that

he poses a significant risk of flight, 18 U.S.C. § 3142(f)(2)(A). The Court conducted

an evidentiary hearing on October 20, 2020, at which defendant was represented by

counsel.

       Having considered the evidence presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that the government has met its burden of

establishing by preponderant evidence that defendant poses a significant risk of non-

appearance and has proven by clear and convincing evidence that defendant poses a

danger to the community. The Court finds, as explained on the record, that there is

no condition or combination of conditions that will ensure the appearance of

defendant and the safety of the community.
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      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on October 21, 2020.




                                           /s/ Phillip J. Green
                                          PHILLIP J. GREEN
                                          United States Magistrate Judge




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